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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                                     x
                                                         Civil Action No. 2:17-cv-2076
  Symbology Innovations LLC

                                Plaintiff,               MOTION FOR DISMISSAL
  vs.

  Atlantic City Electric Company

                                Defendant.
                                                     V

                                STIPULATION OF DISMISSAL
         Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties in the above-captioned
  action hereby stipulate to the dismissal of all pending claims in this action. Symbology
  Innovations, LLC’s claims are dismissed with prejudice. Atlantic City Electric Company’s
  counterclaims are dismissed without prejudice. Each party shall bear its own attorneys’ fees and
  costs.
  Respectfully submitted,
  /s Eugenlo I Torres Oyola                          Casey G. Watkins (#060122014)
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                                                     Electric Company
 Attorneys for Flaintff$ymbology
 Innovations, LLC
        SO ORDERED:
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